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 AO 245B (Rev 02118)          Judgment m a Cnmmal Case
                              Sheet 1



                                                    UNITED STATES DISTRICT COURT
                                                                     Eastern District of Pennsylvania

                 UNITED STATES OF AMERICA                                               )      JUDGMENT IN A CRIMINAL CASE
                                           v.                        FILED~             )
                              NATHANIEL COLES                                                  Case Number: DPAE2: 14CR00516-002
                                                                     JUN 26 2019        >
                                                                                        )       USM Number: 71667-066
                                                                  l<ATE BAP»"0:1AN, Clem
                                                              ey               Dap. Cll!)r!<     Dina Chavar, Esq.
                                                                                        )       Defendant's Attorney
  THE DEFENDANT:
  Iii pleaded guilty to count(s)                 1, 2-7

  D pleaded nolo contendere to count(s)
    which was accepted by the court.
  D was found guilty on count(s)
     after a plea ofnot guilty.

  The defendant is adjudicated guilty of these offenses:




   21:843(b)                                    Unlawful use of a communication facility in furtherance of a            2/28/2014           2-7



         The defendant is sentenced as provided in pages 2 through                      7 _ _ of this judgment. The sentence is imposed pursuant to
                                                                                       __
  the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s)
  D Count(s)                                                             Dis   Dare dismissed on the motion of the United States.
           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
  the defenaant must notify the court and United States attorney of material clianges in econmmc circumstances.

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                                                                                       Date of lmpos1tton of Judgment

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                                                                               d-.     Signature of Judge
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        t;t.5.               MC/VVsL/ C~)
                                                                                       _Gerald Austin McHugh, United States District Judge _____ _
        o> ~/(7}, t                                                                    Name and Title of Judge



        1-LL{                                                                         ----- t/-2U;_1 ---------------
                                                                                       Date
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AO 245B (Rev 02118) Judgment m Criminal Case
                    Sheet 2 - lmpnsonment

                                                                                                      Judgment - Page      2   of       7
 DEFENDANT: NATHANIEL COLES
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                                                             IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
   120 months on Count 1 of Docket No.14-516-2, and a term of imprisonment of 96 months on each of Counts of 2 through 7
  of Docket No.14-516-2, all such terms to run concurrently. These terms shall run concurrently with the sentence of 240
  months imposed in case No. 14-496-3. The defendant shall be given credit for time served while in federal custody.


     ~ The court makes the following recommendations to the Bureau of Prisons:

  The defendant shall be designated to a facility with an active drug and alcohol treatment program.

  The defendant shall be designated to a facility close to Philadelphia, PA.

    !ill'   The defendant is remanded to the custody of the Umted States Marshal.

    D The defendant shall surrender to the Umted States Marshal for this distnct:
            0   at                                 0 a.m.       0 p.m.       on

            D as notified by the Umted States Marshal.

    0       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Pnsons:

            0   before 2 p.m. on

            0   as notified by the Cnited States Marshal.

            0   as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                       to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copyofthisjudgment.



                                                                                 -                 UNITED STA TES MARSHAL      - -- -   -   - -



                                                                            By
                                                                                 - ----        DEPL'TYUNITEDSTATESMARSHAC _ _ _ -           -   -
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 AO 245B (Rev 02/18) Judgment ma Crimmal Case
                     Sheet 3 - Supemsed Release
                                                                                                          Judgment- Page   _3_ . of   _ _   7 _
DEFENDANT: NATHANIEL COLES
CASE NUMBER: DPAE2: 14CR00516-002
                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
      8 years on Count 1 and a term of 3 years on each of Counts 2 through 7, all such terms to be served concurrently, and
     concurrently with the 10 years imposed in case No. 14-493-03.




                                                    MANDATORY CONDITIONS

I.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test withm 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse (check if applzcableJ
4.       D You must make restitution m accordance with 18 U.S C        §§ 3663 and 3663A or any other statute authonzmg a sentence of
             restitution (check if applicable)
5.       ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applzcable)
6.       D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense. (check if app/1cableJ
7.       D You must participate in an approved program for domestic violence. (check if applicable/




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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                     Sheet 3A -- SupeTVlsed Release
                                                                                                Judgment- Page _    __ _ _ of
DEFENDANT: NATHANIEL COLES
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                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep mformed, report to the court about, and bring about improvements in your conduct and condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your livmg
       arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer withm 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least 1O
       days m advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
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                    Sheet 3D - Supel"Vlsed Release
                                                                                           Judgment -Page _   5_   of
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                                  SPECIAL CONDITIONS OF SUPERVISION

The defendant shall refrain from the illegal possession and/or use of drugs and shall submit to urinalysis or other forms of
testing to ensure compliance. It is further ordered that the defendant shall participate in drug and alcohol treatment and
abide by the rules of any such program until satisfactorily discharged.

The defendant shall participate in a program at the direction of the probation officer aimed at learning a vocation, or
improving the defendant's literacy, education level, or employment skills in order to develop or improve skills needed to
obtain and maintain gainful employment. The defendant shall remain in any recommended program until completed or until
such time as the defendant is released from attendance by the probation officer.

The defendant shall provide the U.S. Probation Office with full disclosure of his financial records to include yearly income
tax returns upon the request of the U.S. Probation Office. The defendant shall cooperate with the probation officer in the
investigation of his financial dealings and shall provide truthful monthly statements of his income.

The defendant is prohibited from incurring any new credit charges or opening additional lines of credit without the approval
of the probation officer. The defendant shall not encumber or liquidate interest in any assets unless he has the express
approval of the Court.
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                      Judgment ma Crimmal Case
                      Sheet 5 Cnnunal Monetary Penalties
                                                                                                            Judgment           6_ _ of
                                                                                                                       Page . __          7
DEFENDANT: NATHANIEL COLES
CASE NUMBER: DPAE2: 14CR00516-002
                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment              JVT A Assessment*                     Fine                         Restitution
 TOTALS           $ 700.00                   $ 0.00                                $ 0.00                       S 0.00


 D   The determination ofrestitution is deferred until                     • An Amended Judgment in a Criminal Case (AO 245CJ will be entered
     after such determination.

 D   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.




TOTALS                             $                        0.00               s                        0.00


D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 lJ.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 lJ.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D   the interest requirement is waived for the        D       fine   D   restitution.

      D   the interest requirement for the      D    fine       D     restitution is modified as follows:

* Justice for V1ct1ms ofTraffickmg Act of 2015, Pub. L. No I 14-22.
** Findings for the total amount oflosses are required under Chapters 109A, 110, I I OA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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                    Sheet 6 - Schedule of Payments

                                                                                                          Judgment - Page _   7_     of        7
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                                                    SCHEDt;LE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ~      Lump sum payment of$ _700.00 _                  due immediately, balance due

             D      not later than                                , or
             lill   in accordance with   D C,     D D,       D     E,or      li2f   F below; or

B     D      Payment to begin llllillediately (may be combined with       DC,           D D, or    D F below); or

C     D      Payment in equal       _ _ _ _ _ (e.g, weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ _ over a period of
             _ __ _        (e . g, months or years), to commence _ _ _ _ .. (e g. 30 or 60 days) after the date of this judgment; or

D     D      Payment in equal     _ _ _ _ _ . (e.g., weekly, monthly. quarterly) installments of $ _ __ __ _ _ over a period of
              _   __ _ (e.g, months or years), to commence       _ _      _ (e.g, 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E     D      Payment during the term of supervised release will commence within ______ (e g. 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     !ill   Special instructions regardmg the payment of criminal monetary penalties:

              It is recommended that the defendant participate in the Bureau of Prisons Inmate Financial Responsibility Program
              and provide a minimum payment of $25.00 per quarter towards the special assessment. In the event
              the special assessment is not paid prior to the commencement of supervision, the defendant shall satisfy the
              amount due in monthly installments of not less than $25.00, to commence 180 days after release from
              confinement.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal mone~ penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecut10n.

D     The defendant shall pay the followmg court cost(s)

sti   The defendant shall forfeit the defendant's mterest m the followmg property to the Umted States
       The sum of $550,000.00 in United States Currency (Forfeiture Money Judgment}.


Payments shall b~ applied m the following order: ( l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
